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     Attorneys for the United States of America
10
                                      UNITED STATES DISTRICT COURT
11
                                     NORTHERN DISTRICT OF CALIFORNIA
12
                                         SAN FRANCISCO DIVISION
13

14   UNITED STATES OF AMERICA,                     ) CASE NO. 3:22-CR-00426-JSC
                                                   )
15          Plaintiff,                             )
                                                   ) PETITION FOR WRIT OF HABEAS CORPUS
16                  v.                               AD PROSEQUENDUM
                                                   )
17   DAVID DEPAPE,                                 )
                                                   )
18          Defendant.                             )
                                                   )
19

20 TO:      The Honorable JACQUELINE SCOTT CORLEY, United States District Judge for the Northern
21          District of California
22

23          Assistant United States Attorneys Laura Vartain Horn and Kyle F. Waldinger respectfully

24 requests that the Court issue a Writ of Habeas Corpus Ad Prosequendum for the person of prisoner

25 DAVID DEPAPE, whose place of custody or jailor are set forth in the requested Writ, attached hereto.

26 / / /

27 / / /

28 / / /
               Case 3:22-cr-00426-JSC Document 23 Filed 01/30/23 Page 2 of 4




 1          The prisoner, DAVID DEPAPE, is required to appear as a defendant in the above-entitled matter

 2 in this Court on the date identified in the writ and therefore petitioner prays that the Court issue the Writ

 3 as presented.

 4

 5 DATED: January 30, 2023                                        Respectfully Submitted,

 6                                                                STEPHANIE M. HINDS
                                                                  United States Attorney
 7

 8
                                                                                 /s/
 9                                                                LAURA VARTAIN HORN
                                                                  KYLE F. WALDINGER
10                                                                Assistant United States Attorneys
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               Case 3:22-cr-00426-JSC Document 23 Filed 01/30/23 Page 3 of 4




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11                                    UNITED STATES DISTRICT COURT

12                                 NORTHERN DISTRICT OF CALIFORNIA

13                                        SAN FRANCISCO DIVISION

14   UNITED STATES OF AMERICA,                        )   CASE NO. 3:22-CR-00426-JSC
                                                      )
15          Plaintiff,                                )
                                                          [PROPOSED] ORDER GRANTING PETITION
                                                      )
16                  v.                                    FOR WRIT OF HABEAS CORPUS AD
                                                      )   PROSEQUENDUM
17   DAVID DEPAPE,                                    )
                                                      )
18          Defendant.                                )
                                                      )
19

20          Upon motion of the United States of America, and good cause appearing therefore,
21 IT IS HEREBY ORDERED that the request of the United States for issuance of the Writ of Habeas

22 Corpus Ad Prosequendum requiring the production of defendant DAVID DEPAPE, before this Court on

23 the date stated in the Writ submitted, or as soon thereafter as practicable, is granted and the Writ shall be

24 issued as presented.

25

26 DATED: ___________________                                     __________________________________
                                                                  HON. JACQUELINE SCOTT CORLEY
27                                                                United States District Judge
28

     [PROPOSED] ORDER
     CASE NO. 3:22-CR-00426-JSC
              Case 3:22-cr-00426-JSC Document 23 Filed 01/30/23 Page 4 of 4




 1                         WRIT OF HABEAS CORPUS AD PROSEQUENDUM

 2

 3 TO:      MARK KOLC, United States Marshal for the Northern District of California and PAUL

 4          MIYAMOTO, San Francisco County Sheriff, and/or any of their authorized deputies:

 5

 6          Pursuant to the foregoing petition and order, you are directed to produce the body of DAVID

 7 DEPAPE, who is in the custody of the San Francisco County Sheriff’s Office at the San Francisco

 8 County Jail located at 425 7th Street, San Francisco, California 94103 before the Honorable

 9 JACQUELINE SCOTT CORLEY, United States District Judge for the Northern District of California,

10 located at the San Francisco Federal Courthouse, located at 450 Golden Gate Avenue, Courtroom 8, San

11 Francisco, California 94102 on February 8, 2023 at 09:00 am, or as soon thereafter as practicable, on the

12 charges filed against defendant in the above-entitled Court.

13

14

15 DATED: ______________________                        CLERK, UNITED STATES DISTRICT COURT
                                                        NORTHERN DISTRICT OF CALIFORNIA
16

17
                                                 By:    __________________________________
18                                                      DEPUTY CLERK

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     WRIT OF HABEAS CORPUS AD PROSEQUENDUM
     CASE NO. 3:22-CR-00426-JSC
